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                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES

Date: December 14, 2021       Time: 3 minutes                 Judge: RICHARD SEEBORG
Case No.: 20-cr-00249-RS      Case Name: USA v. Rowland Marcus Andrade




Attorney for Government: Lloyd Farnham
Attorney for Defendant: Michael Shepard
Defendant : [X] Present [ ] Not Present
Defendant Custodial Status: [] In Custody [X ] Not in Custody

Deputy Clerk: Corinne Lew                                       Court Reporter: Ruth Levine Ekhaus
Interpreter: n/a                                                Probation Officer: n/a

                                      PROCEEDINGS

 Status Conference Held - via Zoom.

                                       SUMMARY

 Court proceedings held by Zoom/Video Conference. General Order 74 authorizes the
 Court to proceed by way of video conference hearing.

 Defense counsel needs additional time to review discovery that was provided by the
 government. Parties agree to continue this matter until March.

 Case Continued to: 3/8/2022 at 2:30 pm for Status Hearing before Judge Seeborg to be
 held via zoom.

 EXCLUDABLE DELAY:
 Category: Effective Preparation of Counsel
 Begins: 12/14/2021
 Ends: 3/8/2022

 Government to prepare an exclusion order.
